Case
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 WINDWARD BORA LLC,                                                      Case No.: 1:20-cv-03668-FB-RER

                                             Plaintiff,                 CLERK’S CERTIFICATE OF
                                                                       DEFAULT
                           -against -

 EZRA SHAMI; RACHEL SHAMI; RACHEL WEISS;
 NEW YORK CITY DEPARTMENT OF
 TRANSPORTATION PARKING VIOLATIONS
 BUREAU;
 “JOHN DOE” and “JANE DOE,” Said names being fictitious,
 it being the intention of Plaintiff to designate any and all
 occupants, tenants, persons, or corporations, if any, having
 or claiming an interest in or lien upon the premises being
 foreclosed herein,

                                              Defendant.
  -----------------------------------------------------------------X

          I, Douglas C. Palmer, Clerk of the Court of the United States District for the Eastern

 District of New York, do hereby certify that EZRA SHAMI has not filed an answer or otherwise

 moved with respect to the Complaint herein. The default of the Defendants EZRA SHAMI is

 hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

 Dated: Brooklyn, New York
        January 11, 2021
                                                               Douglas C. Palmer, Clerk of the Court


                                                               By: ____________________________
                                                                            Deputy Clerk




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Case
 Case1:20-cv-03668-FB-RER
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 WINDWARD BORA LLC,                                                     Case No.: 1:20-cv-03668-FB-RER

                                             Plaintiff,                 CLERK’S CERTIFICATE OF
                                                                       DEFAULT
                           -against -

 EZRA SHAMI; RACHEL SHAMI; RACHEL WEISS;
 NEW YORK CITY DEPARTMENT OF
 TRANSPORTATION PARKING VIOLATIONS
 BUREAU;
 “JOHN DOE” and “JANE DOE,” Said names being fictitious,
 it being the intention of Plaintiff to designate any and all
 occupants, tenants, persons, or corporations, if any, having
 or claiming an interest in or lien upon the premises being
 foreclosed herein,

                                              Defendant.
  -----------------------------------------------------------------X

          I, Douglas C. Palmer, Clerk of the Court of the United States District for the Eastern

 District of New York, do hereby certify that RACHEL WEISS has not filed an answer or otherwise

 moved with respect to the Complaint herein. The default of the Defendants RACHEL WEISS is

 hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

 Dated: Brooklyn, New York
        January 11, 2021
                                                               Douglas C. Palmer, Clerk of the Court


                                                               By: ____________________________
                                                                            Deputy Clerk




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Case
 Case1:20-cv-03668-FB-RER
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 WINDWARD BORA LLC,                                                     Case No.: 1:20-cv-03668-FB-RER

                                             Plaintiff,                 CLERK’S CERTIFICATE OF
                                                                       DEFAULT
                           -against -

 EZRA SHAMI; RACHEL SHAMI; RACHEL WEISS;
 NEW YORK CITY DEPARTMENT OF
 TRANSPORTATION PARKING VIOLATIONS
 BUREAU;
 “JOHN DOE” and “JANE DOE,” Said names being fictitious,
 it being the intention of Plaintiff to designate any and all
 occupants, tenants, persons, or corporations, if any, having
 or claiming an interest in or lien upon the premises being
 foreclosed herein,

                                              Defendant.
  -----------------------------------------------------------------X

          I, Douglas C. Palmer, Clerk of the Court of the United States District for the Eastern

 District of New York, do hereby certify that RACHEL SHAMI has not filed an answer or

 otherwise moved with respect to the Complaint herein. The default of the Defendants RACHEL

 SHAMI is hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

 Dated: Brooklyn, New York
          January 11, 2021
                                                               Douglas C. Palmer, Clerk of the Court


                                                               By: ____________________________
                                                                            Deputy Clerk




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Case
 Case1:20-cv-03668-FB-RER
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 WINDWARD BORA LLC,                                                     Case No.: 1:20-cv-03668-FB-RER

                                             Plaintiff,                 CLERK’S CERTIFICATE OF
                                                                       DEFAULT
                           -against -

 EZRA SHAMI; RACHEL SHAMI; RACHEL WEISS;
 NEW YORK CITY DEPARTMENT OF
 TRANSPORTATION PARKING VIOLATIONS
 BUREAU;
 “JOHN DOE” and “JANE DOE,” Said names being fictitious,
 it being the intention of Plaintiff to designate any and all
 occupants, tenants, persons, or corporations, if any, having
 or claiming an interest in or lien upon the premises being
 foreclosed herein,

                                              Defendant.
  -----------------------------------------------------------------X

          I, Douglas C. Palmer, Clerk of the Court of the United States District for the Eastern

 District of New York, do hereby certify that NEW YORK CITY DEPARTMENT OF

 TRANSPORTATION PARKING VIOLATIONS BUREAU has not filed an answer or otherwise

 moved with respect to the Complaint herein. The default of the Defendants NEW YORK CITY

 DEPARTMENT OF TRANSPORTATION PARKING VIOLATIONS BUREAU is hereby noted

 pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

 Dated: Brooklyn, New York
        January 11, 2021
                                                               Douglas C. Palmer, Clerk of the Court


                                                               By: ____________________________
                                                                            Deputy Clerk




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